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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


     SHERRY TERESA, individually and on behalf of
     all others similarly situated,
                                                         ORDER GRANTING STIPULATED
                         Plaintiff,                      MOTION FOR AN EXTENSION OF
                                                         TIME
           v.
                                                         Case No. 4:24-cv-00033-AMA-PK
     MAYO FOUNDATION FOR MEDICAL
                                                         Judge Ann Marie McIff Allen
     EDUCATION AND RESEARCH,
                                                         Magistrate Judge Paul Kohler
                         Defendant.




          The Court, having reviewed the Stipulated Motion for an Extension of Time,1 being fully

 apprised in the premises, and good cause appearing,

          IT IS HEREBY ORDERED that:

          (1)    Plaintiff may file her response in opposition to Defendant’s Motion to Dismiss the

 First Amended Complaint on or before September 11, 2024.

          (2)    Defendant may file its reply in support of its Motion to Dismiss the First Amended

 Complaint on or before October 9, 2024.



 DONE this ____ day of August 2024.
                                                   BY THE COURT:


                                                  PAUL KOHLER
                                                  United States Magistrate Judge




 1
     Docket No. 30, filed _________.

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